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                                                                                                  No. 17-914
                                                                           Filed: September 29, 2017                                        FILED
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                                                                                                                                          I.J.S. COURT OF
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ROBERT IDAHOSA,

              Plaintiff, pro se,




THE I]NITED STATES,

              Defendant.


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                                                                           ORDER OF DISMISSAL

        On June 30,2017, Plaintifffiled a Complaint in the United States Court of Federal Claims.
On July 25, 201'7, the Govemment filed a Motion To Dismiss the June 30,2017 Complaint.
Plaintiff s Response to the June 30, 2017 Motion To Dismiss was due on August 25, 2011.
Plaintiff did not file a response or objection with the court on, or before, August 25, 20i7.

      On September 7 , 2017 , the court issued an Order To Show Cause, ordering Plaintiff to
show cause why the above-captioned case should not be dismissed for failure to prosecute. The
Response to the court's September 7,2017 Ofter was due on September 11,2017. As of
September 29, 2017, Plaintiff has not compiied with the court's September 7, 2017 Ol'der.

       Rule of the United States Court of Federal Claims C'RCFC) 41(b) states that the court
may dismiss an action, on its own motion, "[i]f the plaintiff fails to prosecute or to comply with
[the RCFC] or a court order[.]" In light of Plaintiff s failure to prosecute the above-captioned case
and comply with court-mandated deadlines, the court has determined to dismiss PlaintifPs June
30,2017 Complaint for failure to prosecute.

              Accordingly, the Clerk of Court is directed to close this case. All pending motions are
dismissed as moot.

              IT IS SO ORDERED.


                                                                                                                          SUSAN G.
                                                                                                                          Chief Judge



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